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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

SANTIAGO GUADALUPE CARRANZA, §
                             §
     Petitioner,             §
                             §
V.                           §                         CIVIL ACTION NO. 03:98-cr-0333-B
                             §
UNITED STATES OF AMERICA,    §
                             §
     Respondent.             §

                                    MEMORANDUM ORDER

       Defendant Santiago Guadalupe Carranza was convicted of conspiracy to possess with intent

to distribute methamphetamine and aiding and abetting money laundering. His convictions were

affirmed on direct appeal. See United States v. Carranza, 248 F.3d 1139 (5th Cir. 2001). Over the

past eight years, Carranza has filed motions under 28 U.S.C. § 2255 seeking to vacate his conviction,

but has been unsuccessful. Most recently, the Fifth Circuit denied Carranza a certificate of

appealability with regard to the district court’s dismissal of a § 2255 motion as an unauthorized

successive § 2255 motion. See Order, United States v. Carranza, No. 05-10906 (5th Cir. Aug. 24,

2007). Now, Carranza has filed a Motion to Amend Judgment Nunc Pro Tunc (doc. 501) attacking

his conviction and sentence in this case. For the reasons stated below, the Motion is DENIED.

       Federal courts have jurisdiction to “ignore the legal label that a pro se litigant attaches to a

motion and recharacterize the motion in order to place it within a different legal category.” Castro

v. United States, 540 U.S. 375, 381 (2003), accord Solsona v. Warden, F.C.I., 821 F.2d 1129, 1132 n.1

(5th Cir.1987) (holding that federal courts may construe and re-characterize a pro se prisoner action

“according to the essence of the prisoner's claims, regardless of the label that the prisoner places on

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his complaint”); United States v. Santora, 711 F.2d 41, 42 & n.1 (5th Cir.1983). Among other things,

such recharacterization is proper “to create a better correspondence between the substance of a pro

se motion's claim and its underlying legal basis.” Castro, 540 U.S. at 381-82.

        In this case, Carranza’s “Motion to Amend Judgement (sic) Nunc Pro Tunc” is, in essence,

a § 2255 motion seeking to vacate his sentence based on alleged constitutional violations. The

Court characterizes this motion as a § 2255 motion based on the legal arguments contained therein

and the relief sought. See Castro, 540 U.S. at 381-82. However, as made clear by the Fifth Circuit

in its ruling on his request for a certificate of appealability in relation to his last § 2255 motion,

Carranza is not entitled to attack his conviction and sentence in a successive § 2255 motion without

authorization from the Fifth Circuit as required under 28. U.S.C. § 2255(h). Such authorization

has not been obtained in this case. Accordingly, Carranza’s Motion to Amend Judgement Nunc Pro

Tunc (doc. 501) is DENIED.

        Furthermore, because Carranza has been made well-aware of the requirement that any

successive motions seeking to attack the conviction and sentence must be authorized by the Fifth

Circuit as required under 28. U.S.C. § 2255(h), the Court will consider any further unauthorized

§ 2255 filings to be frivolous. Carranza is instructed that any frivolous filings will be stricken and he

may be subject to sanctions for the frivolous filings, which may include monetary sanctions to be paid

out of his prisoner trust account, if necessary.

        SO ORDERED.

        SIGNED August 5, 2009
                                                _________________________________
                                                JANE J. BOYLE
                                                UNITED STATES DISTRICT JUDGE


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